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Hon. Lewis A. Kaplan
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312 - -

                                                                                Matt Kelly




Dear Judge Kaplan

I am writing a brief note in advance of the sentencing of Sam Bankman Fried to express
some observations that might be of consideration when deciding a sentence. I have an
autistic son myself, and have worked as a special needs teacher in the UK, and though of
course I cannot diagnose any particular condition, I hope that account is being taken of
the fact that many of Sam’s personality traits suggest some type of atypical neurological
processes; whether this is a tendency to avoid eye contact, a habit of being unable to
focus on one thing at a time, or a lack of emotional response in a situation where most
people would show outward signs of strain and distress.

He has also witnessed his ex-partner and associates testify against him in court, and to a
person with unusual processing, this may have been confusing and upsetting.

I hope that account is taken of Sam’s abnormal presentation in your sentencing, so that
retribution is in proportion to the degree of fault, and that account is taken of which
type of institution would be most appropriate in the case of someone like Sam.

Yours sincerely

Matt Kelly




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